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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


 UNITED STATES OF AMERICA,


        v.
                                                         15-CR-143-V
 TRENT ADAIR HAMILTON,                                   ORDER

               Defendant.



       Defendant Trent Adair Hamilton is charged in two counts of a second

superseding indictment. Count 3 charges him with conspiring to possess heroin,

fentanyl, and cocaine with the intent to distribute those substances, in violation of 21

U.S.C. § 846; Count 7 charges him with distributing heroin and possessing heroin with

the intent to distribute it, in violation of 21 U.S.C. §§ 841(a)(1) and 811(b)(1)(C). See

Docket Item 217. 1

       On May 31, 2016, Hamilton filed omnibus motions, including a motion to

suppress intercepted telephone conversations, statements, and tangible evidence.

Docket Item 306. 2 On November 9, 2016, the government responded. See Docket




       1 Hamilton originally was charged along with Michael Paul Mitchell in 14-CR-219

with conspiring to distribute heroin and with distributing heroin and possessing heroin
with the intent to distribute it. See 14-CR-219, Docket Item 1. Because the charges in
14-CR-219 were included in the superseding indictment in 15-CR-143, the indictment in
14-CR-219 was dismissed on August 16, 2016, see 14-CR-219, Docket Item 82. The
second superseding indictment in the instant case, 15-CR-143, Docket Item 217,
includes those same charges.
       2 Hamilton’s omnibus motions were originally filed in 14-CR-219, Docket Item 68,

and later were re-filed in the instant case on November 9, 2017, Docket Item 306.
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Item 307. 3 Because both the motions and the government’s response were filed in the

initial case (14-CR-219), Magistrate Judge H. Kenneth Schroeder, Jr., directed that the

motions be refiled in the instant case. On November 1, 2017, Judge Schroeder denied

Hamilton’s omnibus motions and his motion to suppress statements, but he reserved

decision on whether to suppress the intercepted phone conversations and physical

evidence. On November 29, 2017, Judge Schroeder issued a Report,

Recommendation and Order (“R&R”), recommending the denial of the motion to

suppress the intercepted phone conversations and physical evidence and finding that a

Franks hearing was not necessary. See Docket Item 325.

       This Court granted Hamilton’s motion to extend his time to file objections, Docket

Item 355, and on January 19, 2018, Hamilton objected to Judge Schroeder's R&R.

Docket Item 371. The government filed its response on February 2, 2018, Docket Item

388, and Hamilton filed his reply on February 9, 2018, Docket Item 395. This Court

heard oral argument on March 9, 2018. See Docket Item 423. For the following

reasons, this Court adopts Judge Schroeder’s R&R and denies Hamilton's motions.


                                        ANALYSIS

       If a defendant objects to a magistrate judge's Report and Recommendation with

respect to suppression of evidence in a criminal case, the court reviews that Report and

Recommendation de novo. See 28 USC § 636(b)(1); Fed. R. Crim. P. 59(b)(3). In

conducting its review, the court "may accept, reject, or modify, in whole or in part, the

findings or recommendations made by the magistrate judge." 28 U.S.C. § 636(b)(1).


       3 The government’s response was originally filed on June 29, 2016, in 14-CR-219

(Docket Item 72).

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       Suppression of Intercepted Phone Conversations

       In support of his motion to suppress, Hamilton advanced three legal arguments,

each of which Judge Schroeder rejected. Docket Item 325.

       First, Hamilton argued that the October 15, 2014 order issued by District Judge

Richard J. Arcara and the November 14, 2014 order issued by District Judge Frank P.

Geraci, Jr.—both authorizing wire interception—were not supported by probable cause.

Second, Hamilton argued that the affidavits submitted in support of the eavesdrop

applications failed to establish that electronic surveillance was necessary. Finally,

Hamilton argued that the wiretap did not properly minimize the interception of

communications that were not the target of the orders issued by Judges Arcara and

Geraci. See Docket Item 306.

       Relying on the two affidavits of U.S. Drug Enforcement Administration Special

Agent Shane Nastoff, Judge Schroeder concluded that there was a substantial basis for

Judge Arcara and Judge Geraci to conclude that a wiretap would yield evidence of drug

trafficking. Judge Schroeder recognized that the defendant raised various objections to

the affidavits, but he concluded that those objections did not undermine the validity of

the wiretap order. This Court agrees with both those conclusions.

       Special Agent Nastoff’s affidavits described the history of the investigation,

including the normal investigative techniques that had been used but failed, in sufficient

(and indeed great) detail. Judge Schroeder accorded appropriate deference to Judge

Arcara’s and Judge Geraci’s review and acceptance of Special Agent Nastoff’s

affidavits, as well as Judge Arcara’s and Judge Geraci’s decisions to authorize



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electronic surveillance. Specifically, Judge Schroeder correctly and appropriately

concluded that “because prior investigation established that Hamilton, Mitchell, and

Gillon used cell phones to make drug sales, it was likely that intercepting those

defendants’ phone conversations would yield evidence where other investigative

measures would not.” Docket Item 325, at 9.

       Judge Schroeder also correctly concluded that there was nothing in the 10-day

reports to suggest that those monitoring the target cell phones failed to minimize their

surveillance consistent with the explicit instructions in the orders. And Hamilton has not

identified any phone call that was intercepted but should not have been.

       Finally, Judge Schroeder found that there was nothing in Special Agent Nastoff’s

affidavit that could be construed as a deliberate falsehood. For that reason, and

because Hamilton did not raise any other issue that might require a Franks hearing, he

correctly denied the motion for such a hearing. See Docket Item 325, at 10.

        Hamilton challenges Special Agent Nastoff’s conclusion in his affidavits that

Hamilton’s voice was on the intercepted calls as well as Special Agent Nastoff’s

interpretation of the drug jargon/slang. He argues that Judge Schroeder erred in

rejecting the defendant’s argument that Special Agent Nastoff was neither a voice

recognition expert nor a drug jargon expert. This Court disagrees. A witness need not

be an expert in voice recognition or drug jargon to identify a voice or interpret the words

of a conversation. See United States v. Gaskin, 364 F.3d 438, 457 (2d Cir. 2004)

(“courts recognize that experience and training may allow a law enforcement officer to

discern probable cause from facts and circumstances where a layman might not).

Moreover, this Court agrees with Judge Schroeder that “the ultimate questions of



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whether the defendant was the person picked up on the wiretap or whether he was

brokering a drug sale are matters to be left to the jury.” Docket Item 325, at 5.

       In sum, this Court has reviewed the three principal bases on which Hamilton

sought the suppression of the intercepted calls, finds each of those bases to lack merit,

and agrees with Judge Schroeder’s conclusion that the orders authorizing the wire

interception were properly issued. Furthermore, Hamilton’s general objection that

Judge Arcara and Judge Geraci “abandoned their detached and neutral role accepting

the conclusions (beliefs) included in Nastoff’s Affidavit which are speculative and

reckless,” Docket Item 371, at 13, is wholly unsupported by the record. Indeed, there is

absolutely no reason to believe that Judge Arcara and Judge Geraci did anything other

than fulfill their responsibility of acting with neutrality and impartiality.



       Suppression of Physical Evidence

       Hamilton also argued that the search warrant issued for 184 High Street,

Apartment 2, Lockport, NY, was not supported by probable cause. After his review of

Special Agent Nastoff’s affidavit in support of the search warrant, Judge Schroeder

concluded that it contained ample evidence to support the conclusion that the defendant

was distributing heroin and that evidence would be found at the High Street apartment.

He therefore recommended the denial of the defendant’s motion to suppress, and this

Court agrees that the search warrant was indeed supported by probable cause.




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                                     CONCLUSION

         This Court has reviewed Hamilton’s remaining arguments and objections and

finds them to lack merit.

         For the reasons stated above and in Judge Schroeder’s R&R, Docket Item 325,

this Court rejects Hamilton's objections to the R&R, Docket Item 371, and his motions,

Docket Item 306, are denied.



         SO ORDERED.

Dated:         April 6, 2018
               Buffalo, New York



                                             s/ Lawrence J. Vilardo
                                            LAWRENCE J. VILARDO
                                            UNITED STATES DISTRICT JUDGE




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